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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                                  )
ELECTRONIC PRIVACY INFORMATION                    )
   CENTER,                                        )
                                                  )
      Plaintiff;                                  )
                                                  )
                                                      Civ. Action No. 18-833 (RC)
v.                                                )
                                                  )
DRONE ADVISORY COMMITTEE et al.,                  )
                                                  )
      Defendants.                                 )
                                                  )

         Motion for Extension of Time to Respond to the Complaint

      By and through undersigned counsel, defendants respectfully request one

additional week to respond to the complaint in this case. Defendants’ responsive

pleadings are currently due June 25, 2018. See Dkt. # 6 (Aff. of Service); Fed. R. Civ.

P. 6(a)(1)(C); see also Minute Order dated May 24, 2018 (providing until June 25,

2018 for defendant RTCA Advisory Committee to respond to plaintiff’s complaint).

Defendants respectfully ask the court to adjust the deadline for all defendants, to

allow defendants to confer regarding issues of representation relating to defendant

RTCA Advisory Committee, which just came to undersigned counsel’s attention this

week. Additional time is also needed for defendants to internally review and finalize

their response to the complaint.

      Undersigned counsel conferred with counsel for plaintiff the Electronic

Privacy Information Center regarding the relief requested in this motion. EPIC

declined to consent to the motion unless defendants would promise to file an

answer, rather than responding to the complaint with a motion to dismiss.

      Good cause exists for the Court to grant this motion, and for the foregoing

reasons, the Court should do so.
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Dated: June 22, 2018               Respectfully submitted,

                                   CHAD A. READLER
                                   Acting Assistant Attorney General

                                   MARCIA BERMAN
                                   Assistant Branch Director
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                                    /s/ Lisa Zeidner Marcus
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